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 1   ROBERT E. ATKINSON
     CHAPTER 7 BANKRUPTCY TRUSTEE
 2
     376 E. Warm Springs Rd Suite 130
 3   Las Vegas, NV 89119
     Telephone: (702) 617-3200
 4   Email: Robert@ch7.vegas
 5
                         UNITED STATES BANKRUPTCY COURT
 6
                            FOR THE DISTRICT OF NEVADA
 7
                                                         Case No. 21-14486-ABL
 8   In re:                                              Chapter 7
 9
      INFINITY CAPITAL MANAGEMENT, INC,                  NOTICE OF ENTRY OF
10    dba INFINITY HEALTH CONNECTIONS,                   ORDER

11                         Debtor.
12

13
              PLEASE TAKE NOTICE that an order (attached hereto) was entered in the above-
14
     captioned matter.
15

16
     DATED: March 18, 2022                       /s/ Robert E. Atkinson
17
                                              ROBERT E. ATKINSON
18                                            Chapter 7 Bankruptcy Trustee

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 4       Entered on Docket
     ___________________________________________________________________
         March 18, 2022
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 8
       ROBERT E. ATKINSON
 9     CHAPTER 7 BANKRUPTCY TRUSTEE
       376 E. Warm Springs Rd Suite 130
10     Las Vegas, NV 89119
       Telephone: (702) 617-3200
11
       Email: Robert@ch7.vegas
12
                                UNITED STATES BANKRUPTCY COURT
13                                     DISTRICT OF NEVADA
14
        In re:                                                 Case No. 21-14486-abl
15                                                             Chapter 7
        INFINITY CAPITAL MANAGEMENT, INC.
16      dba INFINITY HEALTH CONNECTIONS,                       ORDER ON EX PARTE
17
                                                               APPLICATION TO EMPLOY
                               Debtor.                         ACCOUNTANT
18

19          The Court reviewed and considered the Trustee’s Ex Parte Application to Employ Paul M.
20    Healey & Sons CPAs Ltd. as Accountant for the Bankruptcy Estate (the “Application”), and the
21    supporting declaration (“Healey Declaration”). Good cause appearing,
22    IT IS HEREBY ORDERED:
23                1. The Application is granted.
24                2. The Trustee is hereby authorized pursuant to 11 U.S.C. § 327(a) to employ Paul M.
25    Healey & Sons CPAs Ltd. as accountant for the Bankruptcy Estate. The standard hourly rates
26    identified in the Healey Declaration are approved as reasonable in accordance with 11 U.S.C. § 328.
27    IT IS SO ORDERED.
28                                                 # # # # #




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 2   Respectfully submitted by:
 3      /s/ Robert E. Atkinson
     ROBERT E. ATKINSON
 4
     CHAPTER 7 BANKRUPTCY TRUSTEE
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